         Case 6:20-cv-00009-MK          Document 26       Filed 03/12/21     Page 1 of 4



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                             UNITED STATES DISTRICT COURT
                                    DISTRICT OF OREGON
                                       EUGENE DIVISION
GREAT BOWERY INC. d/b/a TRUNK                           Case No. 6:20-cv-00009-MK
ARCHIVE,
               Plaintiff,                               DEFENDANT’S REPLY IN
                                                        SUPPORT OF ITS MOTION FOR
       vs.                                              SUMMARY JUDGMENT
CASCADE DIGITAL MEDIA LLC; and
DOES 1 through 10 inclusive,
               Defendant.
       In its response to Defendant’s Motion for Summary Judgment, Plaintiff asserted two
bases for its standing to sue, in its own name, for copyright infringement in connection with the
images at issue in this lawsuit (the “Images”): (1) the Artist Agreement, and (2) the
Authorization Letter. Plaintiff’s Response, p. 2. Neither document suffices to grant standing.
       The 2014 Artist Agreement: Whether or not the Court allows Plaintiff to rely on this
document when Plaintiff failed to disclose the identity of the person who signed it for the artist
(and Plaintiff never signed it), the express condition for the agreement’s application to the
Images was not met. That condition is found in Paragraph 2 of the Artist Agreement:

               2.      Licensed Images: The images subject to this Agreement shall be those
       images provided to Trunk Archive by Artist or Artist’s authorized agent for
       representation hereunder (the “Licensed Images”). For clarification purposes, any sale or
       license of the Licensed Images by Trunk Archive must be approved by Artist in advance.

Page 1 – DEFENDANT’S REPLY IN SUPPORT OF ITS MOTION FOR SUMMARY
         JUDGMENT
         Case 6:20-cv-00009-MK           Document 26        Filed 03/12/21      Page 2 of 4



        For the subject Images to be “subject to” the Artist Agreement, they had to become
“Licensed Images” by being provided by the artist to Plaintiff in advance of Plaintiff’s sale or

licensure of them to others. Plaintiff has submitted no evidence that this occurred. What
happened instead is this. On January 1, 2015, Ms. Leibovitz (through her company AL
Studio, LLC – and not through Plaintiff) entered into a contract with Condé Nast where
Ms. Leibovitz would provide photography services for certain Condé Nast projects. Declaration
of Jonathan M. Hood in Support of Defendant’s Motion for Summary Judgment (“Hood Decl.”)
[Dkt. 17], Ex. 9. Except for certain rights granted to Condé Nast, AL Studio retained ownership
of the copyright to Ms. Leibovitz’s work performed under that contract. Id., Ex. 9, p. 8, § 6(a)
(“As between Contributor [AL Studio] and Company [Condé Nast], Contributor owns the
copyright in the Works . . . .”). The Images were then published by Conde’ Nast in the July 2015
edition of its Vanity Fair magazine. Plaintiff played no part in the transaction, which was
confirmed during discovery.1 The Artist did not provide the Images to Plaintiff so it could
license them to Condé Nast. Plaintiff has not given the Court any reason to believe that the
Artist otherwise made the Images subject to the Artist Agreement. Apart from the agreement’s
questionable provenance (and Plaintiff’s sandbagging of Defendant about it), Plaintiff has not
established that the Artist Agreement is a sufficient basis for its standing.
        The 2018 Authorization Letter (“the Letter”): The Letter is quoted in full on page five of
Defendant’s Motion for Summary Judgment [Dkt. 16]. It does not purport to transfer to Plaintiff
any sort of copyright ownership or exclusive license. For that reason alone, the Letter cannot be
a basis for Plaintiff’s standing as a litigant. Rather, the Letter states that “[Ms. Leibovitz is] the
holder of all rights, title and interest in and to the copyrighted works for which Trunk Archive
will be acting on your [sic – should be “my”] behalf.” Furthermore, the Letter specifies that
Ms. Leibovitz’s “authorization includes sending cease and desist letters, initiating and



1
 Plaintiff stated that “[t]here are no communications between Trunk Archive, Vanity Fair,
and/or Annie Leibovitz with respect to her photography services for the June 25, 2015 edition of
Vanity Fair.” Hood Decl., Ex. 3, p. 5 (Response to RFP No. 8).
Page 2 – DEFENDANT’S REPLY IN SUPPORT OF ITS MOTION FOR SUMMARY
         JUDGMENT
         Case 6:20-cv-00009-MK           Document 26        Filed 03/12/21      Page 3 of 4



prosecuting litigation or other formal proceedings in my name and on my behalf as a named
claimant or co-claimant in relevant courts . . . .” (emphasis added). Ms. Leibovitz is neither a

named claimant nor a co-claimant here, so this litigation is not authorized by the Letter, at all.
       The simple fact is that, as of the date of the filing of this lawsuit,2 Plaintiff had not
acquired the necessary rights that would entitle it to bring this claim. The evidence shows, at
most, that Plaintiff is an agent of Ms. Leibovitz. An agency relationship, without more, is not
sufficient to confer standing for a copyright infringement claim. There must be evidence that
Ms. Leibovitz promised that Plaintiff, and only Plaintiff, would have the power, as
Ms. Leibovitz’s licensing agent, to authorize third parties to reproduce, distribute, and display
the Images. DRK Photo v. McGraw-Hill Glob. Educ. Holdings, LLC, 870 F.3d 978, 984
(9th Cir. 2017). There is no evidence that Ms. Leibovitz made such a promise in regard to the
Images, because there is no evidence that she made the Images “Licensed Images.”
       For these reasons, and those stated in Defendant’s briefing on the pending motions, this
Court should grant Defendant’s Motion for Summary Judgment and deny Plaintiff’s Motion for
Summary Judgment.
       DATED this 12th day of March, 2021.

                                               HUTCHINSON COX


                                               By:     s/Frank C. Gibson
                                                     Frank C. Gibson, OSB #792352
                                                     Jonathan M. Hood, OSB #133872
                                                     Of Attorneys for Defendant




2
 This is the date the Court is to use to determine the existence of standing. D’Lil v. Best W.
Encina Lodge & Suites, 538 F.3d 1031, 1036 (9th Cir. 2008).
Page 3 – DEFENDANT’S REPLY IN SUPPORT OF ITS MOTION FOR SUMMARY
         JUDGMENT
        Case 6:20-cv-00009-MK        Document 26       Filed 03/12/21     Page 4 of 4



                              CERTIFICATE OF SERVICE

      I certify that on March 12, 2021, I served or caused to be served a true and complete copy

of the foregoing DEFENDANT’S REPLY IN SUPPORT OF ITS MOTION FOR
SUMMARY JUDGMENT on the party or parties listed below as follows:
                  Via CM / ECF Filing
                  Via First Class Mail, Postage Prepaid
                  Via Email
                  Via Personal Delivery
                  Via Facsimile



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Page 4 – DEFENDANT’S REPLY IN SUPPORT OF ITS MOTION FOR SUMMARY
         JUDGMENT
